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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
                                                                                 Order Filed on September 27, 2023
  Caption in Compliance with D.N.J. LBR 9004-2(c)                                by Clerk
  COLE SCHOTZ P.C.                                                               U.S. Bankruptcy Court
  Court Plaza North                                                              District of New Jersey
  25 Main Street
  P.O. Box 800
  Hackensack, New Jersey 07602-0800
  (201) 489-3000
  (201) 489-1536 Facsimile
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  Counsel to Debtors

  In re:

  DAVID’S BRIDAL, LLC, et al.,                                           Chapter 11
                                                                         Case No. 23-13131 (CMG)
                    Debtors. 1                                           (Jointly Administered)

           1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number, are: David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI
Investors, Inc. (3857); David’s Bridal Canada, Inc. (N/A); and Blueprint Registry, LLC (2335). The location of debtor


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                        DATED: September 27, 2023
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Page (2)
Debtor:                   DAVID’S BRIDAL, LLC, et al.
Case No.:                 23-13131 (CMG)
Caption of Order:         ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF
                          EXECUTORY CONTRACTS AND UNEXPIRED LEASES


             ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF
                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

    The relief set forth on the following pages, numbered three (3) through four (4), is hereby
ORDERED.




David’s Bridal, LLC’s principal place of business and the debtors’ service address in these chapter 11 cases is 1001
Washington Street, Conshohocken, Pennsylvania 19428.



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Page (3)
Debtor:                     DAVID’S BRIDAL, LLC, et al.
Case No.:                   23-13131 (CMG)
Caption of Order:           ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF
                            EXECUTORY CONTRACTS AND UNEXPIRED LEASES


         Pursuant to and in accordance with the Order (A) Approving the Asset Purchase

Agreement, (B) Authorizing the Sale of Acquired Assets, and (C) Authorizing the Assumption and

Assignment of the Assigned Contracts [Docket No. 660] (the “Sale Order”);2and the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

and 1334 and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the

United States District Court for the District of New Jersey, entered July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and the Debtors having properly filed and served the Sixth Omnibus Notice of

Assumption and Assignment of Certain Executory Contracts [Docket No. 824] (the “Assumption

Notice”) in accordance with the terms of the Sale Order in respect of the assumption and

assignment of the executory contracts and/or unexpired leases (the “Contracts”) set forth on

Exhibit 1 hereto; and no timely objections having been filed to the assumption and assignment of

the Contracts; and it appearing that due and adequate notice of the Sale Order and the Assumption

Notice has been given, and that no other or further notice need be given; and the Court having

determined that the assumptions and assignments provided for herein are an appropriate exercise




         2
             Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Sale
Order.



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Page (4)
Debtor:                 DAVID’S BRIDAL, LLC, et al.
Case No.:               23-13131 (CMG)
Caption of Order:       ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF
                        EXECUTORY CONTRACTS AND UNEXPIRED LEASES


of the Debtors’ business judgment; and after due deliberation, and good and sufficient cause

appearing therefor, it is hereby ORDERED, ADJUDGED, AND DECREED THAT:

              1. Pursuant to Section 365 of the Bankruptcy Code and under the terms of the Sale

Order and APA as if they were Assigned Contracts, the Contracts listed on Exhibit 1 hereto are

hereby assumed and assigned to the Purchasers as of the dates set forth for such Contracts listed

on Exhibit 1 hereto.

              2. The undisputed portion of the Cure Amount for the applicable Contracts shall be

paid as promptly as reasonably practicable, but in any event, within three (3) business days of entry

of this Order, with any disputed portions of the Cure Amount to be paid within three (3) business

days of the resolution or adjudication of same.

              3. The Debtors and Purchasers are authorized to take any action necessary or

appropriate to implement the terms of this Order and the assumptions and assignments without

further order from this Court.

              4. This Court shall retain exclusive jurisdiction and power to resolve any dispute

arising from or related to this Order.




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                                                EXHIBIT 1

                            Assumed and Assigned Contracts and Leases

    Counter Party         Nature of the            Counter Party          Total Cure
                                                                                       Assumption Date
      (Vendor)             Contract                   Address              Amount
                                               Seritage SRC Finance
                                                        LLC
                               Lease
                                              ATTN: Executive Vice
     Seritage SRC         (Store No. 23)
                                              President, Operations &
     Finance LLC          Store Location:                                 $18,000.00   September 7, 2023
                                                      Leasing
                        1634 State Route 22
                                              550 Fifth Avenue, Suite
                        Watchung, NJ 7069
                                                        1530
                                               New York, NY 10110
                                              c/o Plaza Properties Inc.
                               Lease
                                              3016 Maryland Avenue,
                          (Store No. 30)
  FB Festival Center                               Columbus, OH
                          Store Location:
        LLC                                            43208              $25,970.73   September 7, 2023
                        6262 Sawmill Road,
                                               Nicholas L. Vollman,
                            Dublin, OH
                                              VP Commercial Leasing
                              43017
                              Lease               3300 Enterprise
                          (Store No. 96)       Parkway, Beachwood,
    DT Ahwatukee
                         Store Location:             OH 44122
    Foothills LLC                                                         $27,440.62   September 7, 2023
                        5043 E. Ray Road        Attn: Executive VP,
                           Phoenix, AZ                Leasing
                              85044
                                               c/o Stark Enterprises,
                               Lease
                                                         Inc.
                          (Store No. 133)
                                                629 Euclid Avenue,
     Belden Park          Store Location:
                                                     Suite 1300           $10,057.16   September 7, 2023
    Delaware LLC        5514 Dressler Road
                                                  Cleveland, OH
                            Canton, OH
                                              44114 Attn: Robert L.
                               44720
                                                        Stark
                               Lease               c/o CBRE, Inc
                          (Store No. 143)     4400 MacArthur Blvd.,
                          Store Location:             Suite 350
  ICE Holdings LLC
                         6335 Ulali Drive      Newport Beach, CA          $2,000.00    September 7, 2023
                                NE,                    92660
                            Keizer, OR,        Attn: Imperial Center
                               97303          East Property Manager
                               Lease
                          (Store No. 153)
                          Store Location:      2415 East Camelback
  Vestar Alderwood
                         19225 Alderwood         Road, Suite 100
   Parkway LLC                                                            $35,213.97   September 7, 2023
                          Parkway Plaza,        Phoenix, AZ 85016
                             Suite 120,
                         Lynnwood, WA,
                               98036




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                               Lease
                          (Store No. 238)
                                             c/o Cedar Realty Group,
                          Store Location:
                                                  7825 Fay Ave
    Mission Valley       980 Camino de la
                                                    Suite 210,         $27,031.77    September 7, 2023
     Square, L.P.              Reina
                                                   La Jolla, CA
                              Suite A
                                                      92037
                          San Diego, CA
                               92108
                               Lease
                          (Store No. 329)     c/o AJE Management
                        562 US Highway 46             LLC
     R46 Realty
                                East           72 Schindler Court      $70,852.52    September 7, 2023
    Associates, LP
                            Totowa, NJ           Parsippany, NJ
                                7512                 07504

                        Store Construction
                            & Fixtures
                         (Store No. 143)
                         Store Location:
                                               315 Ushers Road
  Unique Structures      Imperial Center
                                               Ballston Lake, NY       $346,281.00   September 7, 2023
       LLC                     East
                                                     12019
                        2500 East Imperial
                             Highway
                          Brea, CA 9282

                        Store Construction
                            & Fixtures
                         (Store No. 143)
                         Store Location:     555 S. Henderson Road
     Floors USA          Imperial Center       King of Prussia, PA     $31,881.75    September 7, 2023
                               East                  19406
                        2500 East Imperial
                             Highway
                          Brea, CA 9282
                        Store Construction
                            & Fixtures
                         (Store No. 143)
                                               1301 Solana Blvd.,
                         Store Location:
     Don Penn                                     Bld. 1-1420
                         Imperial Center                                $250.00      September 7, 2023
 Consulting Engineer                             Westlake, TX
                               East
                                                     76262
                        2500 East Imperial
                             Highway
                          Brea, CA 9282
                           Information          P.O. Box 23246
 Computer Design &
                           Technology           New York, NY           $67,641.11    September 7, 2023
    Integ LLC
                             Services             10087-3246
                                               475 Tenth Avenue
                           Information
                                                   5th Floor
      LivePerson           Technology                                     $0.00      September 7, 2023
                                                New York, NY
                             Services
                                                     10018




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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-13131-CMG
David's Bridal, LLC                                                                                                    Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Sep 27, 2023                                               Form ID: pdf903                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 29, 2023:
Recip ID                 Recipient Name and Address
db                     + David's Bridal, LLC, 1001 Washington Street, Conshohocken, PA 19428-2356
aty                    + Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 29, 2023                                            Signature:           /s/Gustava Winters
